Case 1:23-cv-00108-LMB-JFA Document 1203-31 Filed 08/23/24 Page 1 of 6 PageID# 89261




                           Exhibit 34
  Case 1:23-cv-00108-LMB-JFA Document 1203-31 Filed 08/23/24 Page 2 of 6 PageID# 89262




        ACM notetaker guide
        go/acm--notes--ho1,,vto
        Updated: 8/17 /20




         About this document

         *" Recent updates (latest 8/"17/20)
         Process overview

         How to write ACM notes

         Review and approva_l

         Publication

         Broader sharing of exec summary

         Easy way to get your meeting attendee emails




        Each team presenting at ACM must include a designated notetaker among their attendees, e.g.
        a program manager or product manager familiar with the topic.

        This document is a guide for ACM notetakers, including:
            • guidelines for writing high quality, appropriate notes
            • process for signing off and distributing notes
            • templates for notes and comms.




            •   Full notes should be silently shared with new alias acm-full-notes@ (Ads, Commerce
                and Legal VPs).



        ACM notetakers are required to:
           • attend the ACM session on Friday morning and capture notes using the temolate
           • clean up notes as needed to comply with the writing guidelines
           • distribute for review and approval in line with the instructions in the template
           • once approved, distribute the notes no later than EOD Monday the following week




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  Case 1:23-cv-00108-LMB-JFA Document 1203-31 Filed 08/23/24 Page 3 of 6 PageID# 89263



           •     ACM team will share your exec summary with senior leads in Ads, GBO and XFN teams.

        Important note: an appropriate legal team member must be present for each ACM session, and
        must sign off notes before they are distributed. If more than one lawyer is present for a session,
        please identify one as the lead representative for signing off notes.


               tf)

        Before your session, make a copy of the ACM notes template and share it with the session
        presenters and legal team representative(s). Take your raw notes in this document during the
        meeting, and consider having presenters and lawyers review and collaborate in real-time where
        possible, in order to streamline subsequent review and approval.

        When capturing notes:
           •     Use the template (go/acm-notes-template). When discussions are structured around a
                 presentation, use the slide titles as headings in your notes, and deep link to the
                 corresponding slide. Tip: you can create the headings and slide links before the meeting.
           •     Don't retype all the content from the slides. If presenters are reading their slide content
                 out, there's no need to write it down again. Keep the notes focused on things that are not
                 already written in the slides, such as discussions, comments and questions.
           •     Don't write a full transcript. Distill your notes down as much as possible while still
                 retaining the key points of the discussion.
           •     Don't attribute quotes to specific people. It's not necessary to capture exactly who said
                 what, and you should generally avoid identifying individual people except where it's
                 strictly necessary, e.g. when someone takes an action.
           •     Do capture points of disagreement. Where different individuals or teams hold different
                 perspectives, capture all sides (without specifically attributing them). Note whether or
                 not the discussion resulted in alignment of views.
           •     Capture every voice equally. Everyone in the session is there for a reason, and all
                 contributions should be captured equally. Try to be aware of and counteract your own
                 potential biases, e.g. favoring people in your own team, weighing more heavily
                 contributions from more senior Googlers, or unconscious biases towards
                 underrepresented groups.
           •     Remember your "You Said What?" training (go/commcare. go/fiverules). Careful choice
                 of language is extremely important in capturing these notes, and this required Googler
                 training is a great resource.
           •     Pay close attention to action items and decisions. Make sure the owners and wording of
                 action items and decisions are carefully reviewed and approved. In the notes clearly
                 label as "Al: []"or "Decision: []",and copy these to the top of the document when
                 wording is finalized.



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  Case 1:23-cv-00108-LMB-JFA Document 1203-31 Filed 08/23/24 Page 4 of 6 PageID# 89264




        On Friday. review and edit your notes:
           • Challenge yourself to remove unnecessary detail or repetition from the raw notes.
           • Ensure the content is clear, precisely worded and correctly formatted.
           • If there are points you're unsure of or didn't clearly hear in the meeting, add a comment
               for your reviewers to see.
           • Be sure to replace all the placeholders highlighted in yellow in the notes template (date,
               session title, link to deck etc.).

        Once you've made your initial revisions distribute the draft notes for review and approval.
        Here's a template you can use that will ensure legal privilege is maintained for your email:


         PRIVILEGED AND NEED-TO-KNOW

         Dear presenters and legal representative,

         Please review these draft notes from the ACM session [session title], leave any comments or
         corrections as needed, and record your sign-off in the table at the top of the document when you're
         ready.

         Thanks in advance for reviewing and approving these notes promptly in order to meet the Monday
         4pm deadline for distributing the final notes.

         [Notetaker name]


        As edits come in, help nudge them towards resolution if needed. If it seems clear from a
        comment thread that reviewers are aligned on a change, go ahead and make it. Use your
        judgement in calling out any changes after a reviewer has signed off. Err on the side of caution
        in ensuring the legal team reviewer has seen and approved the final version.




        Once the notes are approved by all reviewers:
           • clear any remaining comments
           • copy the action items and decisions from the body of the notes to the corresponding
               sections at the top of the document
           • delete the sign-off table and any template instruction text.

        Please ensure your full notes doc is viewable by acm-full-notes@ - ensure disable email
        notification when this permission is added.

        You're now ready to publish the final notes. The deadline for this is the end of day Monday
        following ACM.


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  Case 1:23-cv-00108-LMB-JFA Document 1203-31 Filed 08/23/24 Page 5 of 6 PageID# 89265




        To send the notes:
            • Create a new email
            • Title: ACM Notes - <date>: <Title of Topic>
            • To: all attendees of the calendar invite, plus any other appropriate recipients (at the
               presenting team's discretion)
            • CC: acm-review-team@, acm-full-notes@
            • Body: copy your entire notes doc into the body of the email (including the exec
               summary).

        Send the email - and you're done!




        The ACM team will compile all the exec summaries from each week's ACM sessions and share
        them with senior leads (L9+) in Ads, Commerce, GBO and XFN partner teams (marketing, legal,
        finance, Comms/PR). These leads are permitted to share onwards specific summaries with
        relevant individuals in their team.

        If your content is too sensitive for any kind of summary to be shared in this fashion please
        inform acm-review-team@ asap, and make this clear in your notes doc.




        Tip: you can easily copy the
        calendar invite attendees from
        Google Calendar by hovering                  A sample calendar invite
        over the guest list and choosing             Frid sy, Man;h 20 • ·1 D GO -- l l :GOmn
        "Copy guest emails".
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  Case 1:23-cv-00108-LMB-JFA Document 1203-31 Filed 08/23/24 Page 6 of 6 PageID# 89266




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